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                    UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                          CRIMINAL ACTION NO. 5:08cr20-DCB-LRA


CHARLES W. GAVIN A/K/A CHARLIE
GAVIN and
CHARLES MCCULLOUGH                                              DEFENDANTS


                                 ORDER

     This criminal cause is before the Court on the defendant

Charles McCullough’s Motion for Judgment of Acquittal [docket entry

no. 158] and on the defendant Charles Gavin’s Motion for Judgment

of Acquittal, for a New Trial and for an Arrest of Judgment [docket

entry no. 159].   Both defendants made their Rule 29 motions at the

close of the government’s case-in-chief and have now renewed their

motions post-trial within the time required by Rule 29. The Court,

having reviewed the motions, now finds and orders and follows:

     Gavin and McCullough, along with two other defendants, Linda

Salley and Amanda Stacy, were tried before a jury beginning on

Monday, April 20, 2009, and continuing through Tuesday, April 28,

2009, in Jackson, Mississippi.      At the close of the government’s

case-in-chief, the Court granted Rule 29 motions as to defendants

Salley and Stacy, but denied the Rule 29 motions of Gavin and

McCullough.   As to both of these remaining defendants, the jury

returned a verdict of guilty as to the single count contained in
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the indictment.    Gavin and McCullough now renew their motions for

acquittal pursuant to Rule 29.

     The only ground for a motion for judgment of acquittal is that

the evidence is insufficient to sustain a conviction of one or more

of the offenses charged in the indictment.          Jackson v. Virginia,

443 U.S. 307 (1979); United States v. Cox, 593 F.2d 46 (6th Cir.

1979). In ruling on a motion for judgment of acquittal challenging

the sufficiency of the evidence, the Court must determine “whether

the relevant evidence, viewed in the light most favorable to the

government, could be accepted by a reasonably-minded jury as

adequate   and    sufficient   to   support   the   conclusions     of   the

defendant’s guilt beyond a reasonable doubt.”           United States v.

Burns, 597 F.2d 939, 941 (5th Cir. 1979).       “In reviewing testimony

for determining a Rule 29 motion, questions of the weight of the

evidence or of the credibility of the witnesses [are] foreclosed by

the jury’s verdict.”    United States v. Cohen, 455 F.Supp. 843, 852

(E.D. Pa. 1978), aff’d 594 F.2d 855 (3d Cir. 1978), cert. denied,

441 U.S. 947, 99 S.Ct. 2169, 60 L.Ed.2d 1050 (1979).

Charles McCullough

     McCullough claims that he is entitled to a judgment of

acquittal because the government failed to prove that he was a

knowing and voluntary participant in an agreement with co-defendant

Gavin to commit a murder for hire.       McCullough contends that the

government’s proof against him consists entirely of a few recorded


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telephone calls between McCullough and Amanda Stacy and a single

letter written by Gavin that was found in McCullough’s possession.

This evidence, McCullough submits, is insufficient for a reasonable

juror to have found beyond a reasonable doubt that he was guilty of

conspiracy to commit a murder for hire.

        The Court finds that the evidence in the case, viewed in the

light most favorable to the government, supports the jury’s guilty

verdict.     First, Special Agent Bohls testified that he gave the

contact number for “Ed” directly to Charles McCloud.                 Second,

McCloud testified that he gave the phone number only to Charles

Gavin.       Third,   taped   telephone   conversations     revealed     that

McCullough had obtained and was relaying to Stacy the phone number

for “Ed”, a very detailed description of Doug Evans (a description

known only by Gavin), and contact information for “Mae Ree”, whose

phone number corresponds with that of an authorized “Mae Ree” on

Gavin’s phone logs.     This evidence supports the jury’s conclusion

that McCullough had entered into an agreement with Gavin and that

Gavin had given this information directly to McCullough.

        McCullough further contends that the evidence does not support

a finding that he had the intent to participate in a murder for

hire.     Instead, McCullough argues that the message he relayed to

Stacy is more consistent with a drug-deal theory than a murder for

hire theory because the message did not contain a last name or

street address for the target.           This argument is unpersuasive.


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Throughout the calls he makes to Stacy, McCullough makes certain

that Stacy is taking precautions to block her phone number from

identification, indicating his knowledge of the illegal nature of

the activity.              Furthermore, the message McCullough gave to Stacy

included        a    detailed      physical     description      of   Doug    Evans     and

instructions to place a confirmation call once Doug had been

“take[n care of.” The Court finds these messages in their totality

to    be   of       such    a   nature   to    support    the   jury’s      finding   that

McCullough had the requisite intent to commit a murder for hire.

       In sum, the Court finds that the evidence as to Charles

McCullough supports the jury’s verdict.                      McCullough’s motion is

denied.

Charles Gavin

       Gavin contends that a Rule 29 acquittal is warranted for two

reasons: (1) because the government failed to prove an agreement

between Gavin and any other individual (other than McCloud who

cannot be a co-conspirator) to commit a murder for hire and (2)

because the government failed to prove that anything of pecuniary

value was received, promised, or agreed to be paid.

       As to Gavin’s first argument, the Court has already concluded

that the government provided sufficient evidence to support the

jury’s     conclusion           that   Gavin   and   McCullough       entered    into      an

agreement to commit a murder for hire.                   As such, the Court turns to

Gavin’s second argument.


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     Second, Gavin contends that the government failed to prove the

pecuniary value element of conspiracy to commit murder for hire.

As the Court understands it, Gavin’s position is that, because he

had money available in his commissary account and in certificates

of deposit, the pecuniary value element could only be satisfied by

showing a payment or promise to pay actual money. This position is

not in accord with the statute under which Gavin was convicted. 18

U.S.C. § 1958 defines “anything of pecuniary value” to include

“anything of value in the form of money, a negotiable instrument,

a commercial interest, or anything else the primary significance of

which is economic advantage.”     At trial, the government put forth

evidence that Gavin had executed a Uniform Commercial Code (UCC)

document that purported to transfer his rights in certain money to

McCloud.   There was also testimony at trial that these documents

are viewed in prison as items of value.       The Court finds that this

evidence was sufficient for a reasonable jury to find that the

pecuniary value element of the conspiracy had been proven.

     In sum, in addition to its earlier finding that the government

sufficiently proved an agreement between Gavin and McCullough to

commit a murder for hire, the Court finds that the government

provided adequate evidence as to the pecuniary value element of the

conspiracy.   For these reasons, Gavin’s Rule 29 motion is denied.

     Gavin also makes a motion for a new trial pursuant to Rule 33

of the Federal Rules of Criminal Procedure.         That rule gives the


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trial court discretion to order a new trial “if the interest of

justice so requires.”     Fed. R. Crim. P. 33(a).          Unlike with a

motion for judgment of acquittal pursuant to Rule 29, when a

defendant makes a motion for a new trial, the court “may weigh the

evidence and assess the credibility of the witnesses during its

consideration of the motion for a new trial.”           United States v.

Robertson, 110 F.3d 1113, 1117 (5th Cir. 1997).                 Importantly,

however, “the court may not reweigh the evidence and set aside the

verdict simply because it feels some other result would be more

reasonable.   The evidence must preponderate heavily against the

verdict, such that it would be miscarriage of justice to let the

verdict stand.” Id. at 1118 (citing United States v. Martinez, 763

F.2d 1297, 1312-13 (11th Cir. 1985)).

     In support of his motion, the defendant not only asserts the

arguments already addressed herein but also makes two additional

arguments: (1) that the Court erred in restricting the cross-

examination of McCloud and (2) that the jury was misled by certain

statements made during the course of the trial.                The Court has

reviewed Gavin’s claims and, considering the standard outlined

above, finds that no new trial is warranted.       Accordingly, Gavin’s

request for a new trial pursuant to Rule 33 is denied.

     Finally, the title and conclusion of Gavin’s motion indicate

that he is moving the Court for an arrest of judgment pursuant to

Federal Rule of Criminal Procedure 34.        However, Rule 34 is not


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referenced anywhere in the body of Gavin’s motion, nor does the

Court find any argument therein that suggests that Rule 34 is

relevant to this case.    Therefore, this portion of Gavin’s motion

is denied.   Accordingly,

     IT IS HEREBY ORDERED that Charles McCullough’s Motion for

Judgment of Acquittal [docket entry no. 158] is DENIED.

     IT IS HEREBY FURTHER ORDERED that Charles Gavin’s Motion for

Judgment of Acquittal, for a New Trial and for an Arrest of

Judgment [docket entry no. 159] is DENIED.

     SO ORDERED, this the 10th day of June 2009.

                                              s/ David Bramlette

                                       UNITED STATES DISTRICT JUDGE




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